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                                                                                  FILED IN THE
                                                                              U.S. DISTRICT COURT
2                                                                       EASTERN DISTRICT OF WASHINGTON



3                                                                       Nov 05, 2021
                                                                             SEAN F. MCAVOY, CLERK

4
                              UNITED STATES DISTRICT COURT
5
                             EASTERN DISTRICT OF WASHINGTON
6

7    JENNY G.,1                                      No.   4:20-cv-5214-EFS

8                                 Plaintiff,
                                                     ORDER GRANTING THE PARTIES’
9                    v.                              STIPULATED MOTION FOR
                                                     REMAND PURSUANT TO
10   KILOLO KIJAKAZI, Acting                         SENTENCE FOUR OF 42 U.S.C.
     Commissioner of Social Security,                § 405(g)
11
                                  Defendant.
12

13            On November 1, 2021, the parties filed a Stipulated Motion for Remand.

14   ECF No. 25. The parties agree that the matter should be reversed and remanded

15   to the Commissioner of Social Security pursuant to sentence four of 42 U.S.C.

16   § 405(g) for further administrative proceedings. The parties also agree that

17   Plaintiff is entitled to reasonable attorney fees and costs under the Equal Access

18   to Justice Act, 28 U.S.C. § 2412(d), upon proper request to the Court. Having

19   reviewed the record, the Court finds good cause to grant the parties’ motion,

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     1   To protect the privacy of the social-security Plaintiff, the Court refers to her by
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     first name and last initial or by “Plaintiff.” See LCivR 5.2(c).
23


                                                                                         ORDER - 1
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1    reverse the decision of the administrative law judge (ALJ), and remand this case

2    for further proceedings as set forth below.

3          Accordingly, consistent with the parties’ agreement, IT IS HEREBY

4    ORDERED as follows:

5          1.     The parties’ Stipulated Motion for Remand, ECF No. 25, is

6                 GRANTED.

7          2.     Judgment shall be entered for Plaintiff.

8          3.     This matter is REVERSED and REMANDED to the Commissioner

9                 of Social Security for further administrative proceedings pursuant to

10                sentence four of 42 U.S.C. § 405(g). On remand, the Appeals Council

11                is to instruct the ALJ to do the following:

12                A.     further develop the record;

13                B.     reevaluate the medical evidence of record;

14                C.     reevaluate, with the assistance of a specialized medical expert,

15                       if available, the severity of Plaintiff’s headaches, consistent

16                       with Social Security Ruling 19-4p;

17                D.     assess whether Plaintiff’s headaches meet or equal a listing;

18                E.     if necessary, reevaluate Plaintiff’s maximum physical and

19                       mental residual functional capacity pursuant to 20 C.F.R.

20                       § 404.1545 and SSRs 85-16 and 96-8p;

21                F.     proceed with the remaining steps of the sequential evaluation

22                       process, as necessary;

23                G.     offer Plaintiff the opportunity for a hearing; and


                                                                                 ORDER - 2
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1                 H.     take any further action needed to complete the administrative

2                        record and issue a new decision.

3          4.     All pending motions are DENIED AS MOOT.

4          5.     All hearings and other deadlines are STRICKEN.

5          6.     If filed, the Court will consider Plaintiff’s motion for fees and

6                 expenses under the Equal Access to Justice Act.

7          7.     The Clerk’s Office is directed to CLOSE this file.

8          IT IS SO ORDERED. The Clerk’s Office is directed to enter this Order

9    and provide copies to all counsel.

10         DATED this 5th day of November 2021.

11
                                  s/Edward F. Shea
12                                   EDWARD F. SHEA
                             Senior United States District Judge
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                                                                                 ORDER - 3
